






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00564-CV






Barry C. Dockery, Appellant


v.


Office of the Attorney General of Texas and Rosalind Wykoff, Appellees







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126 JUDICIAL DISTRICT

NO. 477,105, HONORABLE PATRICK O. KEEL, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	On October 6, 2005, this Court notified appellant Barry C. Dockery that it appeared
from the record that the Court lacks jurisdiction because his notice of appeal was not timely filed. 
We informed him that his appeal would be dismissed unless he could show that the Court has
jurisdiction.  Dockery has not responded to this notice.

	Dockery's parental rights were terminated by a judgment signed on September 11,
2003.  In his pro se brief, Dockery contends that the State has improperly levied his property because
the district court's judgment absolved him of liability for unpaid child support. (1)  However, his notice
of appeal was not filed until September 1, 2005, well over a year past the filing deadline.  See Tex.
R. App. P. 26.1.  Dockery has failed to perfect an appeal. (2)  See id.  Accordingly, we dismiss his
appeal for want of jurisdiction.



					                                                                                    

					Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Dismissed for Want of Jurisdiction

Filed:   November 15, 2005


1. 	We note that the termination of parental rights does not dissolve a parent's obligation to
pay accrued unpaid child support.  See Swate v. Swate, 72 S.W.3d 763, 771 (Tex. App.--Waco 2002,
pet. denied); In re W.J.S., 35 S.W.3d 27, 277 (Tex. App.--Houston [14th Dist.] 2000, no pet.);
Walker v. Sheaves, 533 S.W.2d 87, 91 (Tex. Civ. App.--San Antonio 1976, writ ref'd n.r.e.).  Nor
does the judgment reflect an agreement with regard to unpaid child support.
2.   Dockery's brief also raises an issue challenging the district court's recent denial of his
request for appointment of counsel in a separate district court proceeding.  On October 20, 2005,
Dockery filed a notice of appeal challenging the district court's judgment in that case and his new
appeal has been assigned the cause number 03-05-0713-CV.  Because Dockery's brief in this appeal
addresses issues relating to that appeal, the clerk's office has filed copies of Dockery's brief under
the new cause number as well.

